Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 1 of 10

EXHIBIT B
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 2 of 10

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

BRIAN KEHLER,
Plaintiff,

v. Civil Action No. 15-CV-127-J

44 4

BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC; COMMERCIAL TIRE, )
INC. AND JOHN DOE CORPORATIONS 103, )

)
Defendants. )

 

AFFIDAVIT OF JOSEPH L. GRANT

 

Joseph L. Grant, under penalty of perjury, states as follows:

1. I am self-employed as a consultant and expert in tire usage and performance, tire
technology, and tire failure analysis. Attached to this Affidavit is my curriculum vitae. The facts
set forth in my curriculum vitae are true and correct and accurately reflect my education,
employment and other matters set out therein.

2. I graduated from Fenn College of Engineering at Cleveland State University in
1971 with a Bachelor of Science in Mechanical Engineering. I have also obtained further
education and learning through attendance at numerous seminars, conferences, and meetings
related to tire and vehicle technology and accident analysis subjects and have belonged to various

professional organizations related to engineering and tire technology and performance.
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 3 of 10

3. Prior to my self-employment as a tire consultant and analyst, I was employed as a |
tire engineer for more than 34 years by Continental Tire North America, Inc., previously known
as The General Tire & Rubber Company and Continental General Tire, Inc. (I refer to the
company as “General Tire” in this affidavit). My first job at General Tire was in Engineering
Training in the Technical Service Department of the Akron, Ohio plant. In 1972, I became the
Project Engineer in the Advanced Tire Development Section. I was responsible for the
development of advanced concept tire products, including advanced bias truck tires. In 1978, I
became the Manager of the Bias Passenger Car Tire Engineering Section. In 1980, I became the
Manager of the Replacement and Private Brand Passenger Car Tire Engineering Technology
Section. In 1986, I became the Section Manager of Radial Truck Tire Engineering. My
responsibilities included supervising the Engineering Development Group for radial truck tires.
Also in 1988, I became the Director of the Commercial Tire Technology Section and was
responsible for the Engineering and Compound Development Group for Commercial Products
including bias and radial medium-and heavy-service truck tires. From 1993 until my retirement at
the end of 2005, I was the Director of Product Analysis, where I was responsible for the failure
analysis of tires manufactured by General Tire, and also analyzed other manufacturers’ tires.
During my career, I had responsibilities for the design, development, testing and the forensic
analysis of tires.

4, I am the inventor credited with a U.S. patent in the area of tire manufacturing
regarding the “Method of Forming Belted Radial Tires from a Cylindrical Tire Band (1977).”

5. I have authored four papers. The first paper is entitled What Makes a High
Performance Tire Different than a Regular Tire? This paper has been presented to the Akron

Rubber Group in January 1996, The Clemson University Tire Industry Conference in October

#48782174_ vl
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 4 of 10

1986 and to the American Retreading Association in April 1987. The second paper is entitled
Rim Line Grooves as an Indicator of Underinflated or Overloaded Tire Operation in Radial Tires.
This paper was presented at the 2004 International Tire Exposition and Conference (“ITEC”).
The third paper, presented at the 2012 ITEC conference, was entitled X-Ray Study of Sixty (60)
Worn Out Passenger & Light Truck Tires. Just this week, at the 2016 ITEC conference, I
presented a paper entitled Typical Manufacturing Condition in Belted Radial Tires: Do They
Influence Tire Durability?, which J co-authored with Vandy Price.

6. Over the course of my career in the tire industry and as an independent tire
consultant, I have made a continuous effort to stay informed with respect reliable publications
relating to tire analysis and tire failure issues. My tire analysis opinions are based on and rely on
published texts, articles, reports, and literature. These publications are reliable and represent the
general acceptance of tire analysts and tire scientists.

7, I have been qualified as an expert in the field of tires and wheels in various courts
throughout the United States. To my knowledge, I have never been found to be unqualified to
render expert opinions regarding tire design, manufacturing, performance, or failure analysis by
any court, and my forensic tire analyses have never been excluded as scientifically unreliable.

8. In my expert report in this case, I provided the opinion that the subject tire exhibits
road hazard impact damage that contributed to the failure of the tire, which had already been
significantly damaged and weakened from overdeflected operation and excessive speed. As
reflected in my report and the inspection notes I appended to it and made a part of the report, that
opinion is based on the forensic evidence I identified in my examination of the subject tire that is
diagnostic of a road hazard impact injury that is contributory to a tread/belt separation. These

conditions included a localized area of separation between the #2 and #3 steel belts in the region

#48782174 v1
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 5 of 10

from 9:30 — 12:45 (the DOT number of the tire typically designates 12:00) on the opposite serial
side; broken carcass cords on the opposite serial side in the area of the localized separation;
broken #1 and #2 belt cords similarly in the area of the localized separation; a radial split through
the tire carcass at approximately 11:30; portions of the tread and all four steel belts missing in this
area, which is typical of an impact injury; and an abrasion in the off-shoulder region on the
opposite serial side at approximately 12:00, which is similarly in the area of the localized
separation. These kinds of conditions are generally accepted as indicators of a road hazard impact
injury, as is reflected in the published NHTSA text, Introduction to Tire Safety Durability and
Failure Analysis, The Pneumatic Tire, ed. A. Gent, J. Walter Eds., (NHTSA 2005), at pages 635-
637, and the Society of Automotive Engineers book, Tire Forensic Investigation: Analyzing Tire
Failure, T. Giapponi (SAE 2008), at pages 81-88.

9. In addition to this clear forensic evidence, my opinion is in fact based on basic tire
science principles, a wealth of testing, and a host of other publications demonstrating how road
hazard impact damage causes tire tread/belt separation.

10. First, the fundamental nature of tire mechanics and durability demonstrates that a
structural disruption in the tire caused by an impact can create a variety of conditions that
inevitably promote and contribute to separation in the laminate layers of tires. As the Tire

Examination After Motor Vehicle Crashes chapter of the Northwestern Traffic Crash Investigation

 

text, (J. Baker, L. Fricke, Eds., 11 Ed., Northwestern 2014) states at page 521:

Impacts can also damage tires in ways that do not result in
immediate rupturing or inflation pressure loss, but may do so some
time later. Impact damage can cause internal breakage, tearing, and
separation of components as they attempt to envelop the road
hazard. This internal structural damage changes the ability of the
tire to manage heat, stress, and strain. In addition, impacts
sometimes make a breach, split or hole in the innerliner. This type
of damage can permit the internal tire structure (e.g. belt and body

#48782174_vl
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 6 of 10

plies) to become pressurized by the inflation pressure within the tire
cavity, a condition known as intra-carcass pressurization (ICP).
Internal structural damage, underinflation, and ICP can result in
eventual tire disablement, including tread/belt detachment.

11. The fact that impact damage or road hazard injuries cause tread/belt detachments
has been confirmed through documented testing, which has been reported in peer-reviewed
publications. Standards Testing Laboratories (“STL”) conducted a series of impact tests to steel-
belted radial tires. The STL testing confirmed that impacts to tires cause tread/belt detachments,
which is documented in the following published literature: Impact Simulations — What Happens
When a Tire/Wheel Impacts a Road Hazard, Standard Testing Laboratories, Inc., Tire Technology
International 2005; Structural Impact Damage Under Varying Laboratory Conditions, ITEC
Paper 17B by Gary Bolden 2004; Impact Simulations in the Lab, Standard Testing Laboratories,
Inc., Tire Technology International 2001. The STL testing also confirmed that impact damage
can cause a tire to fail later after the road hazard injury. As stated in Impact Simulations — What
Happens When a Tire/Wheel Impacts a Road Hazard:

The dynamometer studies have also confirmed what many tire
engineers have suspected: tires sustaining internal damage resulting
from road hazards do not necessarily fail at the moment of impact.
STL studies have demonstrated that tires may run in excess of
19,310km (12,000 miles) after impact before failure. Mileage to
failure ranges from as little as 80km (50 miles) to over 32,186 km
(20,000 miles) where the failure initiation progressed from point of
impact.

12. Jam also aware of additional impact testing conducted by STL on two different
tires that were impacted on STL’s impact machine and run to failure. This testing further
confirmed that impact damage causes tread/belt separation failure in tires. I inspected the test

tires, reviewed the test protocol and results, and spoke with STL representatives regarding the

testing.

#48782174_vl
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 7 of 10

13. The fact that road hazard impact damage causes and contributes to tread/belt
separation is also a generally accepted principle acknowledged by tire scientists and the tire
industry, as evidenced by a host of publications, including the following representative materials,
which were also listed in the appendix to my report in this case:

The Pneumatic Tire, ed. A. Gent, J. Walter Eds., (NHTSA 2005);

b. Traffic Collision Investigation (Northwestern University Center for Public Safety,
2001) at Chapter 8 page 399 & 400;

 

 

c. Traffic Crash Investigation, J. Baker and L. Fricke (Northwestern University
Center for Public Safety, 2014) at pages 522 & 523;

d. Tire Forensic Investigation-Analyzing Tire Failures, T. Giaponni, (SAE 2008) at
page 8;

e. Passenger and Light Truck Tire Conditions Manual (The Tire Industry Association

 

2004) at page 13;

f. Belt Misalignment and Belt/Belt Tear Patterns, H. Herzlich (ITEC 2002); and

g. Commercial Medium Tire Debris Study, US Department of Transportation,
(NHTSA 2008).

The general acceptance of this concept in the tire industry is further confirmed by the 2013
Rubber Manufacturer’s Association brochure, Tire Care & Safety, which states as page 26:
Impact damage to the tire may initially show little or no exterior
evidence. However, internal damage can progress with additional
mileage and eventually cause internal tire separation, detachment or
sudden loss of inflation.

14. My opinion regarding the contribution of road hazard impact damage to the
specific failure in this case is supported by multiple physical conditions I identified in my forensic
inspection of the subject tire, which are shown by the literature identified above to be generally
accepted forensic indicators of such damage. More generally, my opinion is based on testing,

publications including peer reviewed matters listed above, and general acceptance in the tire

science community and the tire industry.

#48782174_vl
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 8 of 10

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I state, under penalty of perjury pursuant to 28 U.S.C. Section 1746, that the foregoing is
true and correct.

Executed on November Lb AY”, 2016.

—Fhagh Phonst

LS L£ Joseph L. Grant

 

#48782174_ vi
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 9 of 10

PRESENT
EMPLOYMENT:

HOME ADDRESS:

EDUCATION:

COURSES &
SEMINARS:

PROFESSIONAL

ORGANIZATIONS:

PUBLICATIONS:

PATENTS:

CURRICULUM VITAE OF
JOSEPH L. GRANT

Independent Tire Analyst

4201 Moss Creek Court
Matthews, North Carolina 28105
Phone 704 617 0336

Bachelor of Science in Mechanical Engineering — June, 1971
Fenn College of Engineering, Cleveland State University

* Tire Society Symposium

¢ Akron Rubber Group

* Clemson University Tire Industry Conference (October, 1985 and 1986)

* Monsanto Rubber Technology Seminar (May, 1989)

¢ SAE Motor Vehicle Accident Reconstruction and Cause Analysis
(March, 1993)

* International Tire Exposition and Conference

* Northwestern University Traffic Institute Accident Investigation
(March, 1997)

¢ STL Trans Tech Tire Technology Seminar — 1999

* Society of Automotive Engineers
¢ Akron Rubber Group
* Rubber Manufacturers’ Association
Chairman - Truck Bus Tire
Engineering Committee (1986-1992)
* Tire & Rim Association
* The Maintenance Council of the American Trucking Association
* American Society of Mechanical Engineers
Tire Industry Association
« American Chemical Society

"What makes a High Performance Tire Different than a Regular Tire"
Jan. 1986 - Akron Rubber Group
Oct. 1986 - Clemson University Tire Industry Conference
April 1987 - American Retreading Association

“Rim Line Grooves as an Indicator of Underinflated or Overloaded Tire
Operation in Radial Tires”
September 2004 — ITEC

“X-Ray Study of Sixty (60) Worn Out Passenger & Light Truck Tires”
September 2012 - ITEC

Method of Forming Belted Radial Tires from a Cylindrical Tire Band
(1977)
Case 2:15-cv-00127-ABJ Document 217-2 Filed 12/02/16 Page 10 of 10

EMPLOYMENT:

POSITIONS:

* June, 1971

* October, 1972

* October, 1978

* April, 1980

* March, 1987

* September, 1988

¢ January, 1993

¢ January, 2006

CURRICULUM VITAE OF
JOSEPH L. GRANT

- June 1971 — Dec. 1994 The General Tire & Rubber Company
- Jan., 1995 — April 2000 Continental General Tire, Inc.

- May 2000 — Dec. 2005 Continental Tire, North America, Inc.
- Jan. 2006 — Present Independent Tire Analyst

Engineering Trainee, Tire Technology Department, Akron Tire
Manufacturing Plant (Akron, Ohio).

Project Engineer, Advanced Tire Development.

Responsible for the Development of Advanced Concept Tire Products,
including Fiberglass Belted Radial Passenger Tires and Advanced Bias Truck
Tires (Akron, Ohio).

Manager, Bias Passenger Car Tire Engineering Technology.

Responsible for the Engineering Development Group for Bias Passenger
Tires (Akron, Ohio)

Manager, Replacement and Private Brand Passenger Car Tire Engineering
Technology.

Responsible for the Engineering Development Group for Bias and Radial
Passenger Tires (Akron, Ohio).

Section Manager, Radial Truck Tire Engineering.
Responsible for the Engineering (Construction and Mold Design)
Development Group for Radial Truck Tires (Akron, Ohio).

Director, Commercial Tire Technology.

Responsible for the Engineering (Construction and Mold Design) and
Compound Development Groups for Commercial Products, including Bias
and Radial Medium and Heavy Service Truck Tires and Giant, Farm and
Industrial Tires (Akron, Ohio, September 1988 - March 1992) (Mt. Vernon,
Illinois, April 1992 - December 1992).

Director, Product Analysis.

Responsible as company-wide consultant to assist other Departments on the
subject of Tire Failure Analysis, Tire Performance Standards, and Safety
Literature (Akron, Ohio, January 1993 - October, 1995) (Charlotte, North
Carolina, November 1995 — January 2006).

Independent Tire Analyst
